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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                              NORTHERN DISTRICT OF CALIFORNIA

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                                  7      CISCO SYSTEMS, INC., et al.,
                                                                                        Case No. 19-cv-07562-PJH
                                  8                    Plaintiffs,

                                  9             v.                                      ORDER GRANTING STIPULATION RE
                                                                                        BRIEFING SCHEDULE FOR MOTION
                                  10     WILSON CHUNG, et al.,                          FOR ATTORNEYS' FEES AND BILL
                                                                                        OF COSTS
                                  11                   Defendants.
                                                                                        Re: Dkt. No. 397
                                  12
Northern District of California
 United States District Court




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                                  14          The parties have submitted a stipulation regarding Poly’s pending attorneys’ fee

                                  15   motion and bill of costs. See Dkt. 397. The stipulation is GRANTED, with the exception

                                  16   of the new proposed hearing date, which the parties have inadvertently selected as

                                  17   Saturday, May 27, 2023. The current hearing date on May 11, 2023 is vacated, and if the

                                  18   court determines that a hearing is necessary after reviewing the parties’ papers, it will set

                                  19   a hearing for a date after June 1, 2023.

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                                  21          IT IS SO ORDERED.

                                  22   Dated: April 13, 2023

                                  23                                                    /s/ Phyllis J. Hamilton
                                                                                    PHYLLIS J. HAMILTON
                                  24                                                United States District Judge
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